Case 1:23-cv-04052-AMD-VMS Document 13 Filed 09/27/23 Page 1 of 2 PageID #: 41

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                                                                          September 27, 2023
 VIA ECF
 United States District Court
 Eastern District of New York
 Attn: Hon. Vera M. Scanlon, U.S.M.J.
 225 Cadman Plaza East
 Courtroom 13A South
 Brooklyn, NY 11201-1804

        Re:     Sanchez v. EZ Parking Corp., et al.
                Case No.: 1:23-cv-4052 (AMD) (VMS)

 Dear Judge Scanlon:

         This office represents the Defendant EK Premier Services LLC (“EK”) in the above-
 referenced case. See ECF Docket Entry 12. Defendant EK writes, with Plaintiff’s consent, to
 respectfully request a forty-five (45) day extension of time from September 23, 2023 to respond
 to the complaint in this case. Pursuant to ¶ II(b) of this Court’s Individual Practice Rules,
 Defendant EK respectfully submits that: (i) the original date to respond to the complaint was
 September 11, 2023, but Defendant EK only recently received notice of this lawsuit; (ii) there have
 been no previous requests for an extension of time; (iii) the Plaintiff consents to the requested
 extension of time; (iv) the reason for the requested extension is because your undersigned needs
 additional time to investigate the allegations and explore a pre-litigation resolution; (v) the
 requested extension would move the deadline to Tuesday, November 7, 2023; and (vi) Defendant
 EK is not aware of any other scheduled dates the requested extension would affect.

         Accordingly, Defendant EK respectfully submits that there is good cause for the requested
 extension of time. See Fed. R. Civ. P. 6(b)(1)(A). Defendant EK thanks this Court for its time,
 attention, and anticipated courtesies in this case.

 Dated: Lake Success, New York
        September 27, 2023                    Respectfully submitted,
                                              MILMAN LABUDA LAW GROUP PLLC
                                              __/s/ Emanuel Kataev, Esq.______________
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Case 1:23-cv-04052-AMD-VMS Document 13 Filed 09/27/23 Page 2 of 2 PageID #: 42


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